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United States Bankruptcy Court for the:

DISTRICT OF COLORADO

Case number (if known) Chapter 11

C1 Check if this an
amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/24

if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor's name Eastern Colorado Seeds LLC

2. All other names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

3. Debtor's federal
Employer Identification | XX-XXXXXXX

Number (EIN)
4. Debtor's address Principal place of business Mailing address, if different from principal place of
business
47500 US Hwy 24 PO Box 546
Burlington, CO 80807 Burlington, CO 80807
Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
Kit Carson Location of principal assets, if different from principal
County place of business

47500 US Hwy 24 Burlington, CO 80807

Number, Street, City, State & ZIP Code

5. Debtor's website (URL) www.ecseeds.com

6. Type of debtor @ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

1 Partnership (excluding LLP)
O1 Other. Specify:

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Debtor Eastern Colorado Seeds LLC

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Case number (if known)

Name

7. Describe debtor's business A. Check one:
(1 Health Care Business (as defined in 11 U.S.C. § 101(27A))
O Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
CO Railroad (as defined in 11 U.S.C. § 101(44))
C Stockbroker (as defined in 11 U.S.C. § 101(53A))
1 Commodity Broker (as defined in 11 U.S.C. § 101(6))
(1 Clearing Bank (as defined in 11 U.S.C. § 781(3))
I None of the above
B. Check aif that apply
DO Tax-exempt entity (as described in 26 U.S.C. §501)
(1 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
C1 Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))
C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http://www.uscourts.gov/four-digit-national-association-naics-codes.
8. Under which chapter ofthe Check one:
Bankruptcy Code is the
debtor filing? L1 Chapter 7
1 Chapter 9
a Chapter 11. Check all that apply:
CI Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
1 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
business debtor, attach the most recent balance sheet, statement of operations, cash-flow
statement, and federal income tax return or if all of these documents do not exist, follow the
procedure in 11 U.S.C. § 1116(1)(B).
The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
proceed under Subchapter V of Chapter 11.
C] Apilan is being filed with this petition.
[1 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).
C1 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.
[1 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
CI Chapter 12
9. Were prior bankruptcy Hino
cases filed by or against oO ,
the debtor within the last 8 Yes.
years?
If more than 2 cases, attach a .
separate list. District When Case number
District When Case number
10. Are any bankruptcy cases gy No

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pending or being filed by a oO
business partner or an Yes.
affiliate of the debtor?

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Debtor Eastern Colorado Seeds LLC Case number (if known)

Name

List all cases. If more than 1, 7 ;
attach a separate list Debtor Relationship

District When Case number, if known

11. Why is the case filed in Check all that apply:
this district?
@ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

O a bankruptcy case conceming debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or BNo

have possession of an
real Spor or persone CO yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

property that needs

immediate attention? Why does the property need immediate attention? (Check ail that apply.)

C1 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

(C1 it needs to be physically secured or protected from the weather.

(1 it includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

CD Other

Where is the property?

Number, Street, City, State & ZIP Code
Is the property insured?
C] No

Olyes. Insurance agency

Contact name

Phone

oe Statistical and administrative information

13. Debtor's estimation of : Check one:
available funds
§@ Funds will be available for distribution to unsecured creditors.

C1] After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of 0 1-49 1 1,000-5,000

0 25,001-50,000
creditors 50-99

[J 5001-10,000 [1 50,001-100,000

BH 100-199 0 10,001-25,000 C1 More than100,000
CI 200-999
15. Estimated Assets 0 $0 - $50,000 C1 $1,000,001 - $10 million 1 $500,000,001 - $1 billion

1 $50,001 - $100,000
[1] $100,001 - $500,000
CJ $500,001 - $1 million

B $10,000,001 - $50 million
0 $50,000,001 - $100 million
C1 $100,000,001 - $500 million

C1 $1,000,000,001 - $10 billion
( $10,000,000,001 - $50 billion
C1] More than $50 billion

16. Estimated liabilities C1 $0 - $50,000
C1 $50,001 - $100,000
1 $100,001 - $500,000
C1 $500,001 - $1 million

CJ $1,000,001 - $10 million

BB $10,000,001 - $50 million
C1 $50,000,001 - $100 million
C1] $100,000,001 - $500 million

CJ $500,000,001 - $1 billion

C $1,000,000,001 - $10 billion
1 $10,000,000,001 - $50 billion
CQ More than $50 billion

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Debtor

Eastern Colorado Seeds LLC

Name

a Request for Relief, Declaration, and Signatures

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Case number (if known)

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or

imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
of authorized
representative of debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on January 13, 2025

MM /DD/YYYY

X Isi Clayton Russel Smith

Signature of authorized representative of debtor

Title President

Printed name

Clayton Russel Smith A bth
L ¢

18. Signature of attorney

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X Is! Andrew D. Johnson

Signature of attorney for debtor

Andrew D. Johnson #36879

Date January 13, 2025

MM /DD/YYYY

Printed name

Onsager | Fletcher | Johnson | Palmer LLC

Firm name

600 17th Street, Suite 425N
Denver, CO 80202

Number, Street, City, State & ZIP Code

Contact phone 303-512-1123 Email address

#36879 CO

ajohnson@OFJlaw.com

Bar number and State

Voluntary Petition for Non-individuals Filing for Bankruptcy

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